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1                                                                        The Honorable John H. Chun
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7                             UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
8
     LISA BRANSON and CHERIE BURKE,
9    individually and on behalf of all others           No. 2:24-cv-00589-JHC
     similarly situated,
10
                                                        FIRST AMENDED CLASS ACTION
11                                 Plaintiffs,          COMPLAINT FOR DISCRIMINATION

12          v.

13   WASHINGTON FINE WINE & SPIRITS,
     LLC, a Washington limited liability company
14
     doing business as TOTAL WINE & MORE;
15   and DOES 1-20,

16                                 Defendants.
17

18          Plaintiffs Lisa Branson and Cherie Burke (together, “Plaintiffs”), on behalf of themselves

19   and all others similarly situated (the “Class”), by and through counsel, bring this Class Action

20   Complaint for Discrimination against Defendant Washington Fine Wine & Spirits, LLC

21   (“Defendant”) and allege, upon personal knowledge as to Plaintiffs’ own actions and Plaintiffs’

22   counsel’s investigations, and upon information and belief as to all other matters, as follows:

23                                  I.      NATURE OF THE EPOA

24          1.      This is a class action lawsuit to remedy Defendant’s ongoing violation of Plaintiffs

25   and the Class members’ civil rights.

26          2.      Effective January 1, 2023, employers with 15 or more employees must disclose,

27   in each posting for each job opening, the wage scale or salary range and a general description of

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1    all of the benefits and other compensation being offered to the hired applicant. See RCW
2    49.58.110(1).
3           3.       The Washington Legislature finds that “despite existing equal pay laws, there
4    continues to be a gap in wages and advancement opportunities among workers in Washington.”
5    RCW 49.58.005(1). The Legislature further finds that “lower starting salaries translate into lower
6    pay, less family income, and more children and families in poverty.” RCW 49.58.005(3)(b).
7           4.       This lawsuit follows important, recent research which revealed pervasive pay
8    disparity in Washington with respect to both women and other protected classes. In particular, the
9    study found that women are paid 78 cents for every dollar paid to men—a decline from 80 cents
10   to the dollar a decade ago. See Alison Saldanha, Seattle’s pay gap between women and men just
11   won’t stop growing (Mar. 8, 2024), https://www.seattletimes.com/business/seattle-hits-rock-
12   bottom-in-terms-of-the-pay-gap-between-women-and-men/.
13          5.       “Some folks do not have the networks or ability to negotiate salaries. Salaries vary
14   wildly in companies within the same industry and applicants do not have the ability to know what
15   the value of the position is.” Engrossed Substitute S.B. 5761 House Bill Report, 67th Leg., Reg.
16   Sess. (Wash. 2022). The pay transparency provision of the Washington Equal Pay and
17   Opportunities Act (“EPOA”), RCW 49.58.110, “allows a discussion at the start of the process
18   instead of after an offer has been made, which will increase the ability to negotiate pay.” Id.
19   Additionally, “[m]any candidates spend hours going through rounds of interviews only to find
20   out they can’t live on the offered pay.” Engrossed Substitute S.B. 5761 Senate Bill Report, 67th
21   Leg., Reg. Sess. (Wash. 2022). The EPOA makes Washington “more competitive” for job
22   seekers. Id.
23          6.       “[P]ay range disclosures function primarily to correct information asymmetry:
24   they give applicants access to key information that only the employer may know. This information
25   is essential to help job candidates, particularly females and candidates in other protected classes,
26   to achieve equal pay when faced with negotiating a starting salary. Pay range disclosures also
27   stand to help current employees discover if they are being underpaid, either to ask for more or

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1    equitable compensation or, if the employee suspects discrimination, to initiate an enforcement
2    action.” Stephanie Bornstein, The Enforcement Value of Disclosure, 72 Duke L.J. 1771, 1789
3    (2023).
4              7.    “[T]he duty to disclose a pay range and to do so publicly goes further, serving
5    other important purposes of a disclosure scheme. It may induce behavior-forcing effects by
6    requiring an employer to identify the pay received by other employees currently in the position
7    and set new employee pay comparably. The goal is that the employer will create pay uniformity
8    based on the position itself rather than the person holding the position.” Id. at 1790.
9              8.    “That pay range postings are public creates additional pressure on employers to
10   provide accurate and fair salary ranges that will attract the best job applicants. And setting pay in
11   a range to which an employer has publicly pre-committed may likely limit the role that even
12   unconscious gender and racial biases play in pay setting.” Id.
13             9.    On January 1, 2021, the State of Colorado enacted a similar pay transparency law
14   that requires online job postings to include information about the expected salary of the position.
15   “One early study of the Colorado pay range posting law showed that, among firms that complied,
16   posted job salaries increased by 3.6 percent.” Id. (citing David Arnold, Simon Quach & Bledi
17   Taska, The Impact of Pay Transparency in Job Postings on the Labor Market 2 (Aug. 17, 2022)
18   (unpublished manuscript), https://perma.cc/KBQ5-L9U2.
19             10.   This is a class action on behalf of individuals who applied to job openings with the
20   Defendant where the job postings did not include the wage scale or salary range being offered in
21   direct violation of RCW 49.58.110.
22             11.   Plaintiffs and the Class seek injunctive relief to address Defendant’s refusal to
23   include a wage scale or salary range in its job postings, and statutory damages pursuant to RCW
24   49.58.070 and RCW 49.58.110.
25                                II.    JURISDICTION AND VENUE
26             12.   This Court has jurisdiction over this cause of action pursuant to RCW 2.08.010.
27

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1           13.     Venue is proper in this Court pursuant to RCW 4.12.025 because the acts and
2    omissions alleged took place, in whole or in part, in King County, Washington, and Defendant
3    resides and transacts business in King County, Washington.
4           14.     Federal jurisdiction is inappropriate under the Class Action Fairness Act, 28
5    U.S.C. § 1332(d)(4)(A), because: (a) all members of the Class are applicants of a Washington
6    employer, or were applicants of a Washington employer, at all times relevant to their interactions
7    with Defendant; (b) Defendant is a citizen of Washington; (c) Defendant is registered to conduct
8    business, and regularly transacts business, within Washington; (d) the alleged conduct of
9    Defendant occurred within Washington; and (e) the injuries to Plaintiffs and the Class occurred
10   within Washington. Alternatively, federal jurisdiction is inappropriate under the Class Action
11   Fairness Act because: (a) pursuant to 28 U.S.C. § 1332(d)(4)(B), more than two-thirds of the
12   Class members reside in Washington; and (b) pursuant to 28 U.S.C. § 1332(d)(2), the amount in
13   controversy does not exceed the sum or value of $5,000,000, exclusive of interest and costs.
14                                           III.    PARTIES
15          15.     Plaintiff Lisa Branson resides in King County, Washington and applied to work
16   for Defendant at its store located at 300 Andover Park West, Tukwila, Washington 98188.
17          16.     Plaintiff Cherie Burke, at all relevant times, was a resident of King County,
18   Washington, and applied to work for Defendant at its store located at 300 Andover Park West,
19   Tukwila, Washington 98188.
20          17.     Defendant Washington Fine Wine & Spirits, LLC is a Washington limited liability
21   company that regularly transacts business throughout King County, Washington and has multiple
22   stores for the transaction of business throughout King County, Washington, including at 300
23   Andover Park West, Tukwila, Washington 98188 and 1550 West Armory Way, Seattle,
24   Washington 98119.
25          18.     Plaintiffs are currently unaware of the true names and capacities, whether
26   individual, corporate, associate, or otherwise, of the defendants sued herein under fictitious names
27   Does 1-20, inclusive, and therefore sue such defendants by such fictitious names. Plaintiffs will

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1    seek leave to amend this Complaint to allege the true names and capacities of the fictitiously
2    named defendants when their true names and capacities have been ascertained. Plaintiffs are
3    informed and believe, and thereon allege, each of the fictitiously named defendants is legally
4    responsible in some manner for the events and occurrences alleged herein, and for the damages
5    suffered by Plaintiffs and the Class.
6                                   IV.       STATEMENT OF FACTS
7           19.     Effective January 1, 2023, all Washington employers with 15 or more employees
8    are required to disclose, in each posting for each job opening, the wage scale or salary range, and
9    a general description of all of the benefits and other compensation being offered to the hired
10   applicant. See RCW 49.58.110.
11          20.     For the purposes of RCW 49.58.110, “posting” means any solicitation intended to
12   recruit job applicants for a specific available position, including recruitment done directly by an
13   employer or indirectly through a third party, and includes any postings done electronically, or
14   with a printed hard copy, that includes qualifications for desired applicants. RCW 49.58.110(1).
15          21.     Defendant employs more than 15 individuals.
16          22.     From January 1, 2023 to the present, Plaintiffs and more than 40 Class members
17   applied to job openings with Defendant for positions located in Washington where the postings
18   did not disclose the wage scale or salary range being offered.
19          23.     On information and belief, despite RCW 49.58.110 becoming effective January 1,
20   2023, Defendant continues to publish job postings for Washington-based positions that do not
21   include the requisite pay information.
22          24.     On information and belief, as of the date of this filing, Defendant continues to
23   employ discriminatory hiring practices, despite prior lawsuits alleging that its hiring practices
24   violate RCW 49.58.110.
25          25.     Defendant’s refusal to post a wage scale or salary range in job postings is a
26   violation of Plaintiffs and the Class members’ civil rights, as specifically defined by RCW
27   49.58.110.

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1             26.   On or about March 25, 2024, Plaintiff Lisa Branson applied for a job opening in
2    King County, Washington with Defendant. The posting for the job opening did not disclose the
3    wage scale or salary range being offered. A true and correct copy of Defendant’s job posting that
4    Plaintiff Lisa Branson responded to is attached hereto as Exhibit 1.
5             27.   In or around December 2023, Plaintiff Cherie Burke applied for a job opening in
6    King County, Washington with Defendant. The posting for the job opening did not disclose the
7    wage scale or salary range being offered. A true and correct copy of Defendant’s job posting that
8    Plaintiff Cherie Burke responded to is attached hereto as Exhibit 2.
9             28.   Plaintiffs applied to work for Defendant in good faith with the intent of gaining
10   employment, so long as the wage scale or salary range, which remains unknown, meets their
11   needs.
12            29.   In working through the application, Plaintiffs expected that at some point they
13   would learn the rate of pay for the open positions.
14            30.   However, Defendant withheld the rate of pay for the open position in the job
15   posting and throughout the application process, forcing Plaintiffs to complete the entire
16   application without learning the rate of pay.
17            31.   As a result of Defendant’s refusal to disclose the wage scale or salary range in the
18   job posting, Plaintiffs remain unable to evaluate the pay for the position and compare that pay to
19   other available positions in the marketplace, which negatively impacts Plaintiffs’ current and
20   lifetime wages.
21            32.   As a result of Defendant’s refusal to disclose the wage scale or salary range in the
22   job posting, Plaintiff’s ability to negotiate pay remains adversely affected.
23            33.   Plaintiffs and the Class lost valuable time applying for jobs with Defendant for
24   which the wage scale or salary range being offered was not disclosed to them. As noted by the
25   Legislature, “[m]any candidates spend hours going through rounds of interviews only to find out
26   they can’t live on the offered pay.” Engrossed Substitute S.B. 5761 Senate Bill Report, 67th Leg.,
27   Reg. Sess. (Wash. 2022).

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1            34.     As a result of Plaintiffs’ and Class members’ inability to evaluate the pay for the
2    position, negotiate that pay, and compare that pay to other available positions in the marketplace,
3    Plaintiffs and the Class members suffered economic and non-economic harm.
4            35.     Plaintiffs have experienced economic and non-economic harm as a direct result of
5    Defendant’s discriminatory hiring practices, its violation of RCW 49.58.110, and its contribution
6    to wage inequality as a result of its refusal to post a wage scale or salary range in the job postings
7    it publishes.
8            36.     Plaintiffs and the Class are victims of Defendant’s discriminatory hiring practices,
9    which are specifically prohibited by RCW 49.58.110.
10           37.     Defendant engaged in a common course of conduct of failing to disclose the wage
11   scale or salary range in its Washington job postings, including the postings to which Plaintiffs
12   and the Class applied.
13           38.     As a result of Defendant’s systemic violations of RCW 49.58.110, and the EPOA
14   generally, the Class has experienced harm identical to that experienced by Plaintiffs.
15           39.     Plaintiffs and each Class member seek statutory damages of $5,000, plus their
16   reasonable attorneys’ fees and costs.
17                              V.      CLASS ACTION ALLEGATIONS
18           40.     Class Definition. Under Civil Rule 23(a) and (b)(3), Plaintiffs bring this case as a
19   class action against Defendant on behalf of the Class defined as follows (the “Class”):
20
                     All individuals who, from January 1, 2023, through the date notice
21                   is provided to the Class, applied for a job opening in the State of
                     Washington with Defendant, where the job posting did not disclose
22                   a wage scale or salary range.

23           41.     Excluded from the Class are the Defendant and Defendant’s officers, directors,
24   and independent contractors, and any judge to whom this case is assigned, as well as his or her
25   staff and immediate family.
26           42.     Numerosity. There are potentially hundreds of individuals who applied for jobs
27   with Defendant within the time period relevant to this matter. Joinder of all such individuals is

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1    impracticable. Further, the disposition of all claims of the Class in a single action will provide
2    substantial benefits and efficiency to all parties and to the Court.
3           43.     Commonality. Because all Class members applied for job openings that did not
4    disclose the wage scale or salary range being offered, this is a straightforward matter of
5    determining whether Defendant’s actions violate Washington law, and, if so, assessing damages.
6           44.     Typicality. Plaintiffs’ claims are typical of the claims of the Class. Plaintiffs and
7    the Class members applied for job openings with Defendant that did not disclose the wage scale
8    or salary range being offered.
9           45.     Adequacy. Plaintiffs will fairly and adequately protect the interests of the Class.
10   Plaintiffs have retained competent and capable attorneys with substantial experience in complex
11   class action litigation. Plaintiffs and Plaintiffs’ counsel are committed to prosecuting this action
12   vigorously on behalf of the Class and have the financial resources to do so. Neither Plaintiffs nor
13   Plaintiffs’ counsel have interests that are contrary to or that conflict with those of the Class.
14          46.     Predominance. Defendant has engaged in a common course of conduct of failing
15   to disclose the wage scale or salary range being offered in job postings in violation of RCW
16   49.58.110. The common issues arising from Defendant’s unlawful conduct affect Plaintiffs and
17   Class members and predominate over any individual issues. Adjudication of these common issues
18   in a single action has the important and desirable advantage of judicial economy.
19          47.     Superiority. Plaintiffs and the Class have suffered, and will continue to suffer,
20   harm and damages as a result of Defendant’s unlawful and wrongful conduct. Absent a class
21   action, however, most Class members would find the cost of litigating their claims prohibitive,
22   especially when that cost is balanced against each individual’s respective potential award. Class
23   treatment is superior to multiple individual lawsuits or piecemeal litigation because it conserves
24   judicial resources, promotes consistency and efficiency of adjudication, provides a forum for
25   claimants with smaller cases and those with few resources, and deters illegal activities. There will
26   be no significant difficulty in the management of this case as a class action. The Class members
27

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1    and the job postings to which they applied are readily identifiable through Defendant’s own
2    records.
3                                     VI.      CAUSE OF ACTION
4                                    FIRST CAUSE OF ACTION
                                   VIOLATION OF RCW 49.58.110
5
                               Claim of Relief for Plaintiffs and the Class
6           48.     Plaintiffs incorporate by reference all foregoing factual allegations and reallege
7    them as though fully set forth herein.
8           49.     As described more fully above, Defendant did not disclose the wage scale or salary
9    range being offered in its job postings seeking workers for its Washington locations.
10          50.     On or after January 1, 2023, Plaintiffs and the Class applied for job openings with
11   the Defendant where the postings did not disclose the wage scale or salary range being offered.
12          51.     Defendant’s actions and omissions violate RCW 49.58.110.
13          52.     As a result of Defendant’s actions and omissions, Plaintiffs and the Class have
14   been economically and non-economically damaged in amounts to be proven at trial.
15                                  VII.      REQUEST FOR RELIEF
16          Plaintiffs, individually and on behalf of the members of the Class, request that the Court
17   enter judgment against Defendant as follows:
18          53.     An order certifying that this action be maintained as a class action and appointing
19   Plaintiffs as Class Representatives and Plaintiffs’ counsel as Class Counsel;
20          54.     Statutory damages of $5,000 to each Plaintiff and Class member pursuant to RCW
21   49.58.070 and RCW 49.58.110;
22          55.     Costs and reasonable attorneys’ fees pursuant to RCW 49.58.070 and RCW
23   49.58.110;
24          56.     Preliminary and permanent injunctive relief prohibiting, restraining, and enjoining
25   Defendant from engaging in the conduct complained of herein, including, but not limited to, an
26   order requiring Defendant to disclose a wage scale or salary range in job postings for jobs located
27   in Washington;

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1            57.    Declaratory relief to the effect that Defendant’s failure to disclose in each posting
2    for each Washington job opening the wage scale or salary range violates Washington law;
3            58.    Pre- and post-judgment interest;
4            59.    Leave to amend the Class Action Complaint to conform to the evidence; and
5            60.    Any additional or further relief which the Court deems equitable, appropriate, or
6    just.
7

8            DATED: July 16, 2024                          EMERY | REDDY, PLLC
9

10                                                 By:     /s/ Timothy W. Emery
                                                   By:     /s/ Patrick B. Reddy
11                                                 By:     /s/ Paul Cipriani
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